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                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                   *
                                            *
              v.                            *   Criminal No. 24-cr-257
                                            *
 MOHAMAD HAMAD                              *

                                ORDER OF COURT

      AND NOW, to-wit, this _______ day of ____________, 2025, upon

consideration of the defense’s Motion to Modify Conditions of Pretrial Release, it is

hereby ordered, adjudged and decreed that said motion is GRANTED.

      IT IS FURTHER ORDERED that Mr. Hamad is no longer required to remain

on home detention.

      IT IS FURTHER ORDERED that Mr. Hamad be placed on a curfew from

9:00 p.m. to 6:00 a.m.

      IT IS FURTHER ORDERED that all other conditions of pretrial release will

remain the same.

                                 __________________________________
                                 Christy Criswell Wiegand
                                 United States District Judge
cc: Counsel of Record
